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UNITED sTATEs DIs'rRICT coURT°'LED "*%m$ D'C‘
wEsTERN olsTRlcT 0F TENNESS
Western Division % JUL 27 PH h` 149

UNITED STATES OF AMERICA

..Vs_

 

JAMES LONG

 

ORDER OF DETENT|ON PEND|NG TR|AL

F|ND|NGS b/W}W”Z/

In accordance With the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearin%has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
safety of any other person and the community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

D|RECT|ONS REGARD|NG DETENT|ON

JAMES LONG is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. JAMES LONG shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
govemment, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

  
  

Date: July 27, 2005

 

DIANE K. VESC O
UNITED STATES MAGISTRATE .TUDGE

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UNITED sATE DsTIIC COURT - WETERN DIsTRCT OFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 46 in
case 2:04-CR-20398 Was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Valeria Rae Oliver

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

L. Daniel Johnson

LAW OFFICE OF L. DANIEL JOHNSON
254 Court Ave.

Ste. 300

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

